EXHIBIT 2

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4000 Rou'rE 06 \ -»

one Hovchlld plaza -_ §
Tinton Falls, NJ 07753 '
(732)922-3300

 

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Aftomeys for Defendants, MONMCUTH MEUIEAL CENTER; 'NATALYA P. KUGAY,

M. D. and MARANATHA LOUGHEED, M. D.

OUR FlLE NO: 140-10253JMRILHZ

ASHLEY GREMM|NGER and JUI.|O
CEZAR RIVAS

Plalntiff(s)
vs.

MONMOUTH FAMILY HEALTH CARE
CENTER, lNC., MQNMOUTH MED|CAL
CENTER, NATALYA F. KUGAY, M.D.,
MARANATHA LOUGHEED, M.D., AND
~.JOHN DOE #1-20 (F-IC`F|T|CUS NAMES

SUFERIOR COURT QF NEW JERSEY
LAW DN|S|ON: MONMOUTH COUNTY
DOCKET NO. MON-L-973-12

ClVlL ACTICN

ANSWER, SEPARATE DEFENSES,
CROSSCLAIM, DEMAND FCR
STATEMENT QF DAMAGES, DEMAND
FCR TRlAL BY JURY, TRIAL
DES|GNAT|CN'AND CERT|F|CAT|SNS""'

BE|NG UNKNCWN)
Defendant(s)

 

 

Defendants. MONMOUTH MED|CAL CENTER, NATALYA P. KUGAY, M.D. a
physician board certified in obstetrics and gynecology ari'd MARANATl-IA LOUGl-IEED,
M.D., a physician specializing in obstetrics and gyneco|ogy, by way of Answer to the
Compiaint, says
n o Fla c

1.-3. Defendants are without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in Paragraphs One through Three of this Count
of the Complalnt and leaves plaintiffs to their proofs.

4.-6. insofar as the allegations contained in these paragraphs of the Complaint do
not pertain to these defendants, they make no answer thereto. insofar as the allegations

contained in these paragraphs of the Complaint pertain to these defendants, same are

denied.

 

7. ' Defendants are without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in Paragraph Seven of this Count of the
Complaint and leaves plaintiffs to their proofs.

B. Defendant, Monmouth Medical Centerl admits operation as a non-profit
corporation licensed and organized exclusively for hospital purposes which entities
defendant to statutory immunities and limitations on liability.

9.-18. Defendants are without knowledge or information sufficient to form a belief
as to the truth of the allegations contained in Paragraphs Nine through Eighteen of this
Count of the Complaint and leaves plaintiffs to their proofs.

19.-27. insofar as the allegations contained jo these paragraphs of the Complaint
do not pertain to these defend;nts, they make no answer thereto. insofar as the
allegations contained in these paragraphs of the Complaint pertain to these defendants,
same are denied.

WHEREFORE. defendants demand Judgment dismissing the Complaint herein,
together with legal fees and costs of suit

MN§§§
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The Coun lacks jurisdiction over the subject matter of this action insofar as the
Federai Tort Ciaims Act constitutes the exclusive remedy available to plaintiffs in this case
which renders the United States of America as the only proper defendant in this case end

requires that plaintiffs bring this action in the United States District Court.

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The Complaint fails to state a claim upon which relief may be granted. and these

defendants reserve the right to move at or before the time of trial to dismiss same.
IHLBP_$_EEABAMEE§N_§E

Plaintiffs failed to join necessary and indispensable parties including the United
States of America and, therefore, the Court must dismiss this action pursuant to B. 4:28-1
g_t§g_q by virtue of the failure of plaintiffs to join these indispensable parties. .

MBIH_§EEABAE_DEE§N§_E.

There is a lack of in personam jurisdiction over these defendants because sufficient
minimum cont_a_c_ts ar_nong this state, this action, and these parties do not exist The
n exercise of such jurisdichon over these defendants is. therefore. in violation of defendants'

rights under the Constitutions of the State cf New Jersey and the United States ofAmerica,
and these defendants reserve the right to move for dismissal of the pieading.
HE[H§EEBBAI§_QEEN_§§

There is a lack of in personam jurisdiction over these defendants because there is
insufficiency of process and insufficiency of service of process. The exercise of such
jurisdiction over these defendants is, therefore, in violation of defendants' rights underthe
Constitutions of the State of New Jersey and the United States of America, and these
defendants reserve the right to move for dismissal of the pleading.

§lXIU§.EEABA]E_QEE§N§E

The court lacks jurisdiction over the subject matter of this action, and defendants

reserve the right to move for dismissal of the pieading. The applicable iaw, ruie, statute

or regulation, inciuding, but not limited to the Statute of Limitations, controlling or requiring

 

the institution of suit within a certain period of time following its accrual, was not complied
with by plaintiffs and. accordingiy, plaintiffs' claim is barred as a matter of iaw.
§E¥§.NL£|§EEABAE.D_E.EEL§E

The court lacks jurisdiction to over this action as 28 LL_S_._Q_ §1346(b), 2671 -80 ofthe
Federai Torts Ciaims Act. provides that a suit against the United States shall be the
exclusive remedy for persons with claims for damages resulting from negligent or wrongful
acts or omissions of federal employees taken within the scope of their office or
employment

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The Complaint fails to state _a_ claim _upon which relief may be granted. and
defendants reserve the-right to move at or before the time of trial to dismiss same.

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The Complaint falls to join a necessary or indispensable party without whom this
action cannot proceed.

EWIH_$§EABAIE_D§£EN_$§

Plaintiff failed to exhaust administrative remedies before bringing suit, and these
defendants reserve the right to move at or before trial to dismiss the Complaint for same, `
pursuant to 28 LL§,Q. § 2675(a).

NWIH_$_§EABAIMEE_ENS_E
The Complaint fails to set forth a cause of action upon which relief may be granted

pursuant to N.J.M 2A:580-1 Q_t_sg.

 

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Plaintiffs have failed to issue process within the time required by lawl and

defendants are entitled to a dismissal of the action.
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The Complaint falls to state a claim upon which relief can be granted. the court lacks
jurisdiction over the subject matter of this action, and plaintiffs are barred from recovery as
a matter of law because the alleged claim was not made and perfected iri the manner and
within the time provided and required by the iaw. statute, regulation or contract upon which
it rs predicated

_ Ml_-E]:LS§E&BAI§_E§E_ELS_E_

The applicable iaw, ru|e, statute or regulation, including, but not limited to the
Statute of Limitations. controlling or requiring the institution of suit within a certain period
of time following its accruai. was not complied with by plaintiffs and, eccordingiy, piaintiffs’
claim is barred as a matter of law.

IU.!B]'§§NIH_$§EA.BAIE_REEEN§_E.

The basis of piaintiffs' cause of action is against the public policy of this State and

the claim for punitive damages is barred as a matter of law.
FLUL`LE_EBIH_§EEABAT_E_D_EEEN_S_§

Plaintiffs’ claims are barred or limited by the law of contributory negligence as a

result of plaintiffs' failure to exercise due and proper care under the existing circumstances

and conditions.

 

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Any and all injuries and damages sustained by plaintiffs were the result of a third

party over whom these defendants had no control.
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Plaintiffs assumed the risk and were fully cognizant of any and all circumstances

surrounding the alleged incident
N DE

Plaintiffs’ damages are barred or, at the very ieast, to be reduced, by virtue of the
doctrine of comparative negligence and the Comparative Negiigence Act, NJL§,&M:t 5-5
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l §I§HI§§NIH_§EEABAI_E_LE.EELLS_E

Defendants claim credit for ali collateral sources from which plaintiffs have or shall
receive benefits pursuant to N.,,L_S_A 2A:15-97.

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The incident which forms the basis of this litigation and which allegedly caused
injuries and damages to plaintiffs was proximately caused or contributed to by the fault of
third persons not parties to this litigation The responsibility of the defendants filing this
answer and the right of plaintiffs to recover in this litigation can only be determined after
the percentages of responsibility of ali parties to the incident are determined whether or not
they are parties tothis litigation. Accordingiy, defendants an adjudication of the percentage
of fault of the claimant and each and every other person whose fault contributed to the

incident

 

MENI|§IU_§§EABAIE_D_EE_N_$_E
Monmouth i\iledicai Center and Bamabas Health exist as non-profit corporations
organized exclusively for hospital purposes within the contemplation of ML 2A:53A-7
et §§g and 2A:53A-8 et sw or trustees, directors, officers or volunteers of such
organization, and as such remain entitled to the immunities and limitations on liability
provided by these statutes.
- S E S
This party is a non-profit corporation, society or association. or trustees, directors,
officers, volunteers, agents. servants or employees of a non-profit corporationl society or
association within the contemplation of N.J.S. 2A:53A~7 et seq., and as such is immune
from liability to plaintiffs.
IHEME£QNQ_§§EABAIEL§LE_N_S_E
The damages of plaintiffs are limited by the doctrine of avoidable consequences
N - D S
The damages alleged were the result of unforeseeable intervening acts of an
agency independent of these parties which bars ciaimants’ cause of action.
- U T D
These parties engaged an independent contractor who performed ali work alleged
to have caused claimants injury and, therefore, ali claims against these parties are barred

as a matter of iaw.

   

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The occurrence complained of was neither intended. foreseeable nor preventable
by the exercise of reasonable care.
M§EU§JXIH_S.§EABA]`_E_LEE§N§.E
The basis of claimants’ cause of action is against the public punitive policy of this
state and the claim is barred as a matter of law.
Defendants assert that any and all actions were made in accordance with accepted
medical standards.
E - RA N
Defendants assert that there was no deviation from accepted medical standards
- IN TE
Defendants did not breach any contractual obligation or warranties expressed,
implied or arising by operation of iaw.
`l' R S T D
Aithough defendants deny the allegations of plaintiffs as to injuries and damages
alleged, these injuries and damages, if any, were caused by the intervening acts or
superseding negligence of persons. parties or corporate entities over whom defendants

had no control.

 

ST EP TE E 8
Defendants assenthat any and all actions were made in accordance with accepted
professional standards
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Defendants assert that there was no deviation from accepted professional
standards
- l D D N -- ..
Defendants did not breach any contractual obligation or warranties expressed,
implied or arising by iaw, or any standards or canons or professional conduct
- R A T E
'fhese defendants assertany and all relief available pursuant to MJ§AM:53A-26,
91 M-
- l A T S
These defendants assert any and ali relief available pursuant to AL,L§A 2A:53A-37,
.ej§§£»
EP D E S
These defendants reserve the right to amend their answer and to assert additional

defenses and/or supplement, alter or change this answer upon the revelation of more

definite facts during and/or upon the completion of further discovery and investigation

 

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Defendants, MONMOUTH MEDICAL CENTER, NATALYA F. KUGAY, M.D. and
MARANATHA LCUGHEED. M.D.. by way of crossclaim against any and ali codefendants
including fictitious defendants. third-party defendants and defendants added as parties at
a later date, say:

Whiie denying that they are in any way obligated or liable under the claims for relief
asserted against them, defendants, MONMBUTH .MED|CAL CENTER,"`NATALYA P.
KUGAY, M.D. and MARANATHA LOUGHEED, M.D., allege that:

a. Any obligation imposed upon them to respond in damages could only be as a
- result of operation of law based upon liability, technical, imputed or impiled, whereas the
actual fault or negligence was on the part of the party or parties against whom this claim
is asserted

b. Any obligation of these defendants to respond in damages is based upon an
alleged breach of contract, whereas the causative act or failure to act was that of the party
or parties against whom this claim is asserted.

c. The party or parties against whom this claim is asserted are obligated under the
terms and provisions of the New Jersey Tortfeasors Contribution Act (N,_.l§A 2A:53Agt
gg), the Comparative Negiigence Act (N,,LS_.A, 2A:15-5.1 gteg, and/or The New Jersey
Tcrt Ciaims Act (N.,i.§,& 59:1 g §_Q), for their pro rata share of any judgment

d. These defendants are entitled to a determination of the percentage shares of

responsibility of ali tortfeasors, whose fault contributed to the claimed injuries and property
damage, as the obligation. if any. of these defendants to respond in damages should not
exceed their percentage share.

e. Arlslng out of the relationship between the parties is a contractual obligation
entitling these defendants indemnification from the party or parties againstwhom this claim

is asserted.
f._ _ ln_ addition to the foregeirag,,~_defendants are entitled to common law and

contractual indemnification

WHEREFORE, defendants, MONMOUTl-l MED|CAL CENTER, NATALYA P.
Ki.lGAY, M.D. and MARANA'|'HA LCUGHEED, M.D., demand judgment or restituticn,
indemnity. contribution or apportionment of responsibility from the party or parties against
whom this claim is asserted.

AL'§!M§BI.Q_ALL_C_B.O_&MM§
Defendants deny all crossclaims asserted against them in this action.
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Pursuant to R. 4:7-5, defendants demand en allocation of liability for all defendants,

including all settling defendants, as well as a credit for the responsibility of all settling

defendants,

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PLEASE TAKE NOT|CE, that pursuant to Bgi§ 4:5-2, the parties filing this Answer

require that you, within five days, furnish them with a statement of damages ciaimed.
REMMF_QB.`[BIAL.BX.JHB!

PLEASE TAKE NOT|CE, that defendants demand a trial of the issues by ajury of

six persons.
- '-= ----~ .AEElQAlLilQ.EM§B|I

PLEASE TAKE NOT|CE, that pursuant to N.,L§.A, 2A:53A-26 _e_t_s_g. the parties

filing this Answer require that piaintiffs, within sixty days, furnish them with an Affldavit of

Merit.
D C S

PLEASE TAKE NOT|CE that. pursuant to & 4:25-4, Jamee M. Ronen, Jr., Esq.,
is hereby designated trial counsel for defendants, MONMOUTi-l MED|CAL CENTER,
NATALYA P. KUGAY, M.D. and MARANATHA LOUGHEED. M.D.

C ic

l hereby certify that a copy of the within document has been filed with the Clerk of

the captioned Court and that a copy of same was served upon all interested attomeys,

within the time allowed by the Ruies of Court.

 

C 8 R ' -
1. The matter in controversy is the subject of a pending action or arbitration as
foilows: NONE KNOWN
2. Contempiation of another action or arbitration proceeding is contemplated
as follower NONE KNOWN
3. The following parties listed should be joined in this action: NONE KNOWN
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l CERT|FV-that the foregoing statements made by me are true. l am aware '
that if any of the foregoing statements made by me are willfully faise. l am subject to
punishment

RONAN, TUZZiO & GIANNONE

Attomeys for Defendants,

MONMOUTH MED|CAL CENTER, NATALYA P.
KUGAY, M.D. and MARANATHA LQUGHEED,
M.D.

Dated: October 2, 2012

 

 

